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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )           (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    It    is   ORDERED   that    the    motions    for   judgment       of

acquittal (Doc. No. 1748, 1751, 1753, 1754, 1755, 1756 &

1757) filed by defendants Milton E. McGregor, Thomas E.

Coker, Larry P. Means, James E. Preuitt, Harri Anne H.

Smith, Jarrell W. Walker, Jr., and Joseph R. Crosby are

denied.

    DONE, this the 3rd day of January, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
